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                                 UNITED STATES DISTRICT COURT
 10
                                SOUTHERN DISTRICT OF CALIFORNIA
 11
 12     ILLINOIS TOOL WORKS, INC., DBA          Case No. 09 cv 1887 JLS (MDD)
        WYNN'S, a Delaware Corp.,
 13                                              SPECIAL VERDICT FORM
                   Plaintiff,
 1i1­
             VS.                                 The Honorable Janis L. Sammartino
 15
        MOC PRODUCTS COMPANY, INC., a CaL
 16     Corp.,
                 Defendant.
 17
        AND RELATED COUNTER CLAIMS
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                                                                     09-cv-1887 JLS (MDD)
                                       SPECIAL VERDICT FORM
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                                                 VERDICT FORM 


            When answering the following questions and filling out this Verdict Form, please follow the

      directions provided throughout the form. Your answer to each question must be unanimous. Some

      of the questions contain legal terms that are defined and explained in detail in the Jury

      Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of

      any legal term that appears in the questions below. Unless instructed to skip a question, all

      questions must be answered.

            We, the jury, unanimously agree to the answers to the following questions and return them

      under the instructions of this Court as our verdict in this case.

      DIRECT INFRINGEMENT
             Question 1. Has ITW dba Wynn's proven by a preponderance of the evidence that MOC

      has directly infringed the following claims of the '638 patent?

                     Claim 1:        Yes     ./'             No - - -

             Ifyou answered "No" to Claim 1, skip Claims 2 and 3 and proceed to Claim 5.
                     Claim 2:        Yes./                   No - - -

             Ifyou answered "No" to Claim 2, skip Claim 3 and proceed to Claim 5.
                     Claim 3:        Yes    V                No _ __

             Proceed to Claim 5.

                     Claim 5:        Yes     /               No _ __

             Proceed to Ifyou answered "No" to Claim 5, skip Claims 6-8 and proceed to Question 2.

                     Claim 6:        Yes    ./               No - - -

             Ifyou answered "No" to Claim 6, skip Claims 7-8 and proceed to Question 2.
                     Claim 7:        Yes    V                No - - -

             Ifyou answered "No" to Claim 7, skip Claim 8 and proceed to Question 2.
                     Claim 8:        Yes     /               No _ __

             Proceed to Question 2.
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      INDIRECT INFRINGEMENT - ACTIVE INDUCEMENT 


             Question 2. Has ITW dba Wynn's proven by a preponderance of the evidence that MOC

      is liable for inducing infringement?

                     Claim 1:       Yes      V        No ___
             Ifyou answered "No" to Claim 1, skip Claims 2 and 3 and proceed to Claim 5.
                     Claim 2:       Yes      ../'     No - - -
             Ifyou answered "No" to Claim 2, skip Claim 3 and proceed to Claim 5.
                     Claim 3:       Yes      V        No ___
             Proceed to Claim 5.

                     Claim 5:       Yes      V        No - - ­
             Ifyou answered "No" to Claim 5, skip Claims 6-8 and proceed to Question 3.
                     Claim 6:       Yes      V        No - - ­
             Ifyou answered "No" to Claim 6, skip Claims   7-8 andproceed to Question 3.

                     Claim 7:       Yes      V        No - - -
             Ifyou answered "No" to Claim 7, skip Claim 8 and proceed to Question 3.
                     Claim 8:       Yes      /        No - - -
             Proceed to Question 3.
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      INDIRECT INFRINGEMENT - CONTRIBUTORY INFRINGEMENT 


              Question 3. Has ITW dba Wynn's proven by a preponderance of the evidence that

      MOC is liable for contributory infringement of the following claims of the '638 patent?

                   Claim I:       Yes    /               No - - -

            lfyou answered "No" to Claim 1, skip Claims 2 and 3 and proceed to Claim 5.
                   Claim 2:       Yes~                   No - - -

            lfyou answered "No" to Claim 2, skip Claim 3 and proceed to Claim 5.
                   Claim 3:       Yes./                  No - - -

            Proceed to Claim 5.

                   Claim 5:       Yes    /              No - - -

            lfyou answered "No" to Claim 5, skip Claims 6-8 and proceed to Question 4.

                   Claim 6:       Yes    V              No - - -

            lfyou answered "No" to Claim 6, skip Claims 7-8 and proceed to Question 4.
                   Claim 7:       Yes    'V             No _ __

            lfyou answered "No" to Claim 7, skip Claim 8 and proceed to Question 4.

                   Claim 8:       Yes   V               No _ __

            Proceed to Question 4.
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      WILLFUL INFRINGEMENT 


               Ifyou answered "Yes" with respect to any claim in Questions 1,2, or 3,
               proceed to Question 4. If not, proceed to Question 5.


             Question 4. Has ITW dba Wynn's proven by clear and convincing evidence that MOe

      actually knew or should have known that its actions constituted an unjustifiably high risk of

      infringement of a valid and enforceable patent?
                     Yes . /               No
                                                ---

             Proceed to Question 5.
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      PATENT INVALIDITY - ANTICIPATION 


             Question 5.     Has MOC proven by clear and convincing evidence that the following

      claims ofthe '638 patent are invalid due to anticipation? .

                     Claim l:       Yes - - -              No       ./"

             Ifyou answered "No" to Claim 1, skip Claims 2 and 3 and proceed to Claim 5.
                     Claim 2:       Yes - - -              No       ./

             Ifyou answered "No" to Claim 2, skip Claim 3 and proceed to Claim 5.
                     Claim 3:       Yes - - -              No       ./"

             Proceed to Claim 5.

                     Claim 5:       Yes - - -              No       /'

             Ifyou answered "No" to Claim 5, skip Claims 6-8 and proceed to Question 6.
                     Claim 6:       Yes - - -              No       /

             Ifyou answered "No" to Claim 6, skip Claims        7-8 and proceed to Question 6.

                     Claim 7:       Yes - - -

             Ifyou answered "No" to Claim      7, skip Claim 8 and proceed to Question 6.

                     Claim 8:       Yes - - -              No       /



             Proceed to Question 6.
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     PATENT INVALIDITY - OBVIOUSNESS 


            Question 6. The ultimate legal conclusion on the obviousness question will be made by

     the court. However, in order for the court to do so, you must answer certain questions:

                    a. 	   The parties have agreed that '638 patent is associated with the art of

                           designing, engineering and using engine intake cleaning devices. One of

                           ordinary skill in the art would have a working knowledge ofengine service

                           machines and engine intake systems, a degree in mechanical engineering or

                           fluid mechanics and/or at least three to five years experience in conceiving,

                           designing, engineering and/or modifYing engine intake cleaning devices,

                           along with experience in using such equipment.

                    b. 	   The parties agree that the scope and content of the prior art at the time of the

                           claimed invention is the following: MOC's Heavy Duty Induction Canister

                           ("HDIC"), QMI's Induction Tool, and ITW dba Wynn's's original

                           Combustion Chamber Cleaner tool (Part No. 31912). The foregoing is

                           collectively referred to as "the Prior Art."

                   c. 	    What differences, if any, existed between the scope of the asserted claims

                           and the Prior Art at the time of the claimed invention?
                           (Check only those that you find exist)

                                    There were no differences between the scope of the asserted 


                                    claims and the Prior Art at the time of the claimed invention. (If 


                                    this is checked, proceed to Question 6(d)). 


                                    The Prior Art did not provide a source of liquid cleaner. 


                                    The Prior Art did not utilize an aspirator to atomize liquid cleaner. 


                                    The Prior Art did not utilize an aspirator to atomize liquid cleaner 


                                    while introducing the liquid cleaner into the intake system. 


                                    The Prior Art did not utilize an aspirator with a bore of determined 


                                    diameter to define a metering orifice for liquid cleaner. 


                             /'     The Prior Art did not provide that aspirator with an ambient air

                                    intake bore.
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                                    The Prior Art did not introduce the liquid cleaner while the engine

                                     is at a fast idle speed. 


                                    The Prior Art did not introduce the liquid cleaner into the intake 


                                    manifold as an atomized substantially non-precipitating mist. 


                                    The Prior Art did not utilize an aspirator with a body having a 


                                    through bore of determined diameter. 


                                    The Prior Art did not provide that aspirator body with an ambient 


                                     air intake bore. 


                                    The Prior Art did not provide that aspirator body with an end 


                                    portion of tapering outer diameter. 


                              /	    The Prior Art did not provide that aspirator body with a plurality

                                    of gradated substantially cylindrical diameter sections at the end

                                    portion of tapering outer diameter.

                                    The Prior Art did not provide an aspirator that had both of the

                                     following: (1) a bore of determined diameter through which liquid

                                    cleaner flowed, and (2) an ambient air intake bore.

                                    The Prior Art did not provide an aspirator that had all three of the

                                    following: (1) a bore of determined diameter through which liquid

                                    cleaner flowed, (2) an ambient air intake bore, and (3) and end

                                    portion of tapering outer diameter that had a plurality of gradated

                                    substantially cylindrical diameter sections spaced along the length

                                    of the aspirator body.

                 d. 	   Which, if any, of the following have been established by the evidence:

                        I.         The claimed invention was the predictable result of using prior art

                                   elements according to their known functions.

                                           Yes - - -              No     V
                        11.        The claimed invention provided an obvious solution to a known

                                   problem. 


                                           Yes - - - 	            No 
    V
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                        111.       At the time of the claimed invention, there was a design need or

                                   market pressure to solve a problem in the field of the claimed

                                   invention.

                                           Yes - - -             No - -

                        IV.        There were a finite number of identified, predictable solutions to

                                   solve a problem in the field of the claimed invention.

                                           Yes _ __              No    /
                        v.         There was a reasonable expectation that the invention would work

                                   for its intended purpose. 


                                           Yes     V             No -
                                                                    
 --

                 e. 	   Which, ifany, of the following factors have been established by the

                        evidence with respect to the claimed invention (check only those that you

                        find apply):

                              /	    commercial success of a product due to the merits of the claimed

                                    invention;

                                    a long felt need for the solution provided by the claimed invention;

                                    unsuccessful attempts by others to find the solution provided by
                                    the claimed invention;
                          .	..,/    copying of the claimed invention by others;
                        --

                        --   /'     unexpected and superior results from the claimed invention;
                             ../    acceptance by others of the claimed inventions as shown by praise

                                    from others in the field or from the licensing of the claimed 


                                    invention; 


                                    independent invention of the claimed invention by others before or 


                                    at about the same time as the named inventor thought of it; 


                             /	     changes or related technologies or market needs contemporaneous

                                    with the invention;
                             /      the inventor proceeded contrary to accepted wisdom in the field;
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                            . / 	 persons having ordinary skill in the art of the invention expressed
                                     surprise or disbelief regarding the invention.


            Proceed to Question 7.
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      DAMAGES


              lfyou answered "Yes" with respect to any claim in Questions 1,2, or 3,
              for which you answered "No" in Question 5, answer the following:



      Question 7.


            (a) What lost profits, if any, did ITW dba Wynn's show it more likely than not suffered as

            a result of sales that it would with reasonable probability have made but for MOC's

            infringement?



                    a. 	 From Aug. 29, 2003 - Aug. 28, 2009:        $----.;;3-rII....:.tf.....l'f.'+/2---=~_t7:......-..---
                    b.   From Aug. 29, 2009 - Present:


            (b) For those infringing sales for which Patent Holder has not proved its entitlement to lost

            profits, what has it proved it is entitled to as a reasonable royalty:


                    a. 	 A royalty payment of$ 1~31 7 ""              for the time period Aug. 29, 2003­
                         Aug. 28,2009.                    f


                    b. 	 A royalty payment of$
                         Present.
                                                   3 «fj{ 2P!         for the time period Aug. 29,2009­




         DATED: IbY~t/:/9              ,20ik­
                                                       Presiding Juror
